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     Jane Roe 2, Jane Roe 3, and John Roe 2, on behalf of
 6
      themselves and all others similarly situated
 7
                               UNITED STATES DISTRICT COURT
 8
                             CENTRAL DISTRICT OF CALIFORNIA
 9
10
     JOHN ROE 1, an individual; JANE ROE 1, an CASE NO. 22-cv-00983-DFM
11   individual; JANE ROE 2 an individual; JANE
     ROE 3, an individual, JOHN ROE 2, on behalf Assigned to Hon. Douglas F. McCormick
12   of themselves and all others similarly situated, Complaint filed: 03-18-2022
13
                              Plaintiff,
14   vs.                                           PLAINTIFFS’ REPLY BRIEF IN
                                                   SUPPORT OF MOTION FOR A
15
     THE STATE BAR OF CALIFORNIA;                  PRELIMINARY INJUNCTION
16   TYLER TECHNOLOGIES, INC.; KEVAN
17
     SCHWITZER; RICK RANKIN; and DOES 4 Hearing Date: September 15, 2022
     through 10, inclusive,             Time: 11:00AM
18                          Defendants. Crtm: 6B
19
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                                                   1
           PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF A PRELIMINARY INJUNCTION
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 1
 2                        MEMORANDUM OF POINTS & AUTHORITIES

 3                                 I.      FURTHER LEGAL ARGUMENT

 4
            A. The State Bar’s Argument Going to the Merits of the First Amended Complaint
 5
               are Weak
 6
            The State Bar purports there are three reasons why plaintiffs have not met their burden in
 7
     showing the allegations in the first amended complaint have merit. Each of their contentions are
 8   weak: (1) the IPA does not apply so the plaintiffs cannot show there is a likelihood of success
 9   on the merits (Doc. 86 p. 8-9); (2) plaintiffs failed to show irreparable harm because there is no
10   evidence showing the State Bar is going to file old charges; and (3) the balance of equities tips
11   in favor the State Bar of California because it would impede the purported “protection of the
12   public” and (4) the relief requested is “wildly overbroad” and not in the public interest. (Doc.
13   86 p. 8-10).
14          1. The IPA including Cal Civ Code § 1798.29 Clearly Applies and the State Bar
15             Clearly Violated This Law

16          First, the State Bar argues “First, the IPA does not apply to the State Bar. The IPA

17
     applies only to an “agency,” which does not include “any agency established under Article VI

18
     of the California Constitution.” Cal. Civ. Code 1798.3(b)(2). That is the article under which the
     State Bar is established.” (Doc. 86 p. 8-9).
19
            The State Bar of California was not created by the judicial branch, but by the Legislature
20
     and approved by the Governor of California on March 31, 1927.
21
            The California Constitution was created in 1849. It was amended in 1879. From 1849
22
     through 1966, the State Bar was not mentioned in Art V1 Section 9 of the California
23
     Constitution. Plaintiffs are vehemently opposed to the State Bar’s position that they were
24
     created alongside Judicial Officers in Art VI of the Cal. Constitution.
25
            In fact, it is incongruous with the scope and procedures that separate the bench from the
26
     bar. Attorneys, as members of the Bar, can practice law. Judges, as members of the Bench,
27
     cannot practice law. The State Bar can disbar attorneys, but not judges. Judges, on the other
28
     hand can be impeached, but not attorneys.

                                                     1
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 1          The State Bar Act was adopted by the legislature and approved by the Governor of
 2   California on March 31, 1927 and became effective on July 29, 1927. (Stats. 1927, p. 38.) State
 3   Bar v. Superior Court (1929) 207 Cal. 323, 328. The Legislature created a public corporation to
 4   regulate attorneys by enacting Cal. Bus. & Prof Code § 6000 et seq. The purpose to create the
 5   State Bar in the Act is laid out in Cal. Bus. & Prof Code 6001, “The State Bar of California is a
 6   public corporation. It is hereinafter designated as the State Bar. The State Bar has perpetual
 7   succession and a seal and it may sue and be sued.” Cal. Bus. & Prof Code 6001). The State Bar
 8   even reprinted the entire State Bar Act onto the State Bar’s website which can be found at:
 9   https://www.calbar.ca.gov/Attorneys/Conduct-Discipline/Rules/Selected-Legal-Authority/The-
10   State-Bar-Act.
11          In the early 1960s the Legislature created the Constitution Revision Commission, which
12   has then since amended the California Constitution after 1879. Cal Const Art VI Section 9
13   referred to by the Defendants in opposition to the motion, was not amended to include the State
14   Bar until November 8, 1966; long after the State Bar was already established. The State Bar
15   was established and continued to exist from 1929 to 1966 without being in the Constitution
16   because it was not created in the Constitution. The creation of the State Bar by the Legislature
17   and its limited scope to attorneys as opposed to judges was discussed in the case of State Bar v
18   Superior Court (1929) 207 Cal. 323.

19          The so-called "State Bar Act" was adopted by the legislature and approved by the
            Governor of California on March 31, 1927, and became effective on July 29,
20          1927. (Stats. 1927, p. 38.) In the title of the act it is stated to be "An act to create a
21          public corporation to be known as 'The State Bar of California.'"

22
            State Bar v. Superior Court (1929) 207 Cal. 323, 328
            As explained at length in the State Bar v Superior Court case, Judicial Officers do not
23
      practice law and the State Bar regulates the practice of law so the State Bar cannot discipline
24
      Judicial Officers, only lawyers. It is up to impeachment proceedings for Judicial Officers who
25
      obtain their power from the Constitution. Whereas, the Legislature gave birth to the State Bar
26
      using its legislative powers by creating a public corporation and enacting Bus & Prof Code §
27
28


                                                        2
        PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF A PRELIMINARY INJUNCTION
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 1    6001 et seq. As such, the contention that the State Bar was created under the Constitution as a
 2    judicial arm is mistaken.1
 3          The fact that the Legislature has sought to amend the IPA to include the State Bar in
 4    section (m) in Assembly Bill (AB) 2958 which the Defendants attached as Exhibit J does not
 5    take this point away. Because Cal. Civ. Code 1798.29 already applied to the State Bar, Exhibit
 6    J is irrelevant to show that the IPA purportedly did not apply beforehand. The State Bar
 7    misquotes the California Constitution in its opposition and took it off their website. (Opp. Doc
 8    86 p. 18) Section 9 of Article VI actually reads:
 9          SEC. 9. The State Bar of California is a public corporation. Every person admitted
            and licensed to practice law in this State is and shall be a member of the State Bar
10
            except while holding office as a judge of a court of record.
11
            Cal. Const. Art. VI, Sec. 9.
12
            The amendment in 2958 is redundant in this regard. The comments that after the breach
13
      it wants to turn on the disciplinary spigot tilts in the plaintiff’s favor of obtaining injunctive
14
      relief. This has nothing to do with Girardi and more to do with the State Bar’s attempt to
15
      legislate its way out of this mess instead of taking responsibility.
16
            2. Mandating the State Bar Obey the Law and Give Proper Notice to the Victims of
17             the Breach Is Narrowly Tailored to the Requirements in Cal Civ Code § 1798.29
18          This is not a typical data breach case where a person’s use of an online financial
19   company or social media company was hacked and their online information was released.
20          The State Bar argues that the relief requested in Number 1, 4 and 5 in the conclusion of
21   the motion is mandatory relief which is rarely granted, but it has otherwise failed to oppose
22   plaintiffs’ request for relief in Number 1, 4 and 5 relating to properly noticing all victims of the
23   breach.
24          "A mandatory injunction orders a responsible party to take action, while [a]
            prohibitory injunction prohibits a party from taking action and preserves the status
25          quo pending a determination of the action on the merits." []
26
27
            1
28            Govt Code 955.9 which directs service of summons to all judicial branch entities does
      not refer to the State Bar either. And tort claims against the judicial branch entities are
      considered by the Judicial Council not the State Bar. Cal Govt Code 912.7.
                                                        3
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 1           We ask whether the plaintiffs seek to maintain or alter the status quo. "The 'status
 2           quo' refers to the legally relevant relationship between the parties before the
             controversy arose."
 3
             Fellowship of Christian Athletes v. San Jose Unified Sch. Dist. Bd. of Educ. (9th
 4
             Cir., Aug. 29, 2022, No. 22-15827) [pp. 29-30]
 5
             If the plaintiffs were all inactive attorneys now sitting on the bench, the defendant would
 6
     have likely provided expedient notice that fully explained there was a breach of the judges’
 7
     information and the judges would not have to seek a court order making the defendant follow
 8
     the law. Although plaintiffs are requesting mandatory relief, it is the type of relief the law
 9
     already clearly requires. Also, the status quo was not on the day the plaintiffs filed suit. The
10
     controversy arose before the lawsuit was filed when the State Bar failed to notify the victims of
11
     the breach in a expedient manner and with accuracy listing steps to take as required by the IPA.
12
     The requested notice mirrors the IPA requirements making it clear. The law was created in 1977
13
     because agencies were accumulating a ton of private information on individuals. No one could
14
     have guessed the State Bar would have argued the IPA did not apply to them until the breach
15
     occurred when the organization was created by the State Bar Act and not the California
16
     Constitution. In essence, it is nothing more than ordering the Defendant to follow and obey the
17
     law in Cal Civ Code § 1798.29 by giving the victims of the data breach proper notice including
18
     what steps to take because the State Bar is willfully disobeying the law. It is clear that the IPA
19
     applies to the State Bar and that there is irreparable harm when an agency fails to give notice
20
     that the victim’s confidential information has been accessible to users on the internet since
21
     2018.
22
             Number 5 is narrowly tailored to the IPA claim that the State Bar failed to comply with
23
     the IPA by giving the victims proper notice of the breach. Number five repeats the contents
24
     required in a notice in order to be in compliance with Cal. Civ. Code 1798.29. Since there law
25
     and harm are clear, the injunction should issue including the relief requested in Number 5.
26
             Related to Number 5 is requirement Number 1 - the Court should restrain the State Bar
27
     from interjecting the phrase “page views” into the notice which then confuses the recipient as to
28
     whether or not their confidential record ended up on the open internet. This request is not
     mandatory relief but prohibitive relief thus the lower standard is met if the Court finds that
                                                      4
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 1   serious questions go to the merits of the legitimacy of this litigation and there is irreparable
 2   harm.
 3           Also related to Number 5, is Number 4 which requires the State Bar to take a properly
 4   prepared Notice and upload it to the member’s State Bar profile for the member to retrieve. The
 5   notices the State Bar emailed were not from the State Bar but a third party giving notice of an
 6   “Odyssey portal breach.” A victim of the breach is not going to know that this email is
 7   important or from the State Bar because it doesn’t say it is from the State Bar.
 8           The emails may simply end up in spam and get deleted. However, having the Notices
 9   uploaded to the attorney’s online portal where the portal already is used to upload and
10   communicate official business with the State Bar is a much more predictable forum ensuring the
11   attorney will look at it. Moreover, the State Bar will be able to see if and when the victim goes
12   to the site and actually downloads the notice, assuring notice was effectuated.
13           There is no counter public interest to the State Bar – meaning it would not protect the
14   public by denying the relief requested – proper Notice to the victims and there are no equities
15   on the side of the State Bar. However, irreparable harm can ensue when a person is not notified
16   that there has been a breach of their confidential information on the internet.
17           Because the defendant did not oppose the requested relief in Numbers 1, 4 and 5, other
18   than on the basis it was mandatory, this Court should grant preliminary injunctive relief

19   consistent with these requests.

20           3. Restraining the State Bar from Filing Public Charges on Old Confidential Files
                Is in the Public Interest Because Serious Questions Going to the Merits Have
21              Abound
22           Defendants focus their opposition on the request to bar the State Bar from filing new
23   notice of public disciplinary charges that are more than six months old and from divulging
24   sensitive/confidential information contained in the confidential files to the defense counsel.
25           Confidential investigations spanning several decades being placed on a free search
26    engine on the internet is a “sufficiently serious in [its] nature, scope, and actual or potential
27    impact to constitute an egregious breach of the social norms underlying the privacy right.” Hill
28    v. Nat’l Collegiate Athletic Assn., 7 Cal.4th 1, 37 (1994).


                                                       5
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 1          As shown above, it is simple math using the Defendant’s own numbers show the
 2    magnitude of the breach which spans decades. A statute of limitations is imposed on legal
 3    malpractice of one year, State Bar complaints of three to five years and from open
 4    investigation to file has a statutory goal of six months. Yet the State Bar doesn’t want to be
 5    constrained at all. There are no hidden “Tom Girardi” attorneys out there. The State Bar was
 6    well aware for decades of his actions.
 7          Pulling out old investigations and filing public disciplinary charges which leads to
 8   immediate reputation loss and economic harm with the risk of sanction, suspension or
 9   disbarment for the sake of lessening liability to the State Bar is exactly the type of irreparable
10   harm such injunctive relief now could prevent.
11          There are many good people who work at the State Bar that would never trample on
12   someone’s rights like that, but that does not include everyone and this type of risk shouldn’t
13   even exist, but it does. The fact the State Bar would not back off from implying they would
14   show harm is temporary because many of the over 300,000 investigations may become public is
15   horrifying. We don’t even have that many active members practicing in California.
16         With over 300,000 confidential records breached and only 10,000 investigations opened
17   on average per year, it’s simple math to demonstrate this breach included records of
18   investigations that occurred decades ago, yet the State Bar is resisting any injunctive relief

19   including an agreement to simply affirm they are not going to publicly go after a person whom

20   they did not deem appropriate to do so before the breach. It should be a nonissue.

21          Defendants failed to file an evidentiary objection with their opposition and their

22    arguments based on relevance are misplaced. Former Defendant Kevan Schwitzer gave the

23    documents and written testimony as consideration for his dismissal by way of settlement

24    precisely so the plaintiffs could use that evidence in this case in any manner that it fits. It is

25    relevant to demonstrate the reason for the breach was egregious and the defendants didn’t care

26
      about assisting the victims so they could protect themselves with the breach as much as they

27
      did in massaging the messaging to obfuscate the damage done. Plaintiffs suspect many victims
      still do not know their information was breached because the email notices were not even from
28
      the State Bar but a third party that could have easily landed in their spam folder.

                                                        6
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 1           Finally, the defendants own documents support this relief. It is their own audit that
 2    showed only 3.5% of investigations turned into public disciplinary charges. It is the State Bar
 3    counsel’s own email response refusing to give any assurance that the members who had old
 4    investigations would not turn into public disciplinary matters now. And it is the State Bar’s
 5    own Exhibits showing that AB 2859 tacked on emergency legislation to purport to immunize
 6    or demonstrate they were not part of the IPA when they were - showing just how quickly the
 7    State Bar can have the law changed to suit their needs.
 8           Assembly Bill (AB) 2958 was rushed through after the plaintiffs filed suit when the State
 9    Bar failed to take action and protect the victims of the data breach.
10           It is labeled “emergency legislation” but whose emergency was it? It surely wasn’t the
11   victims of the data breach. The amendment purports to immunize the State Bar from being
12   enjoined or having to pay victims of a data breach in the future. If that isn’t political, then what
13   is?
14           Unlike other state agencies, it is the State Bar members who fund a substantial portion of
15    the State Bar but the State Bar tends to take half of those proceed to act as an advocate against
16    the members who pay. In comparison to other state licensing agencies, its coffers are ten times
17    the size. As such, members of the State Bar fear the State Bar. There are many other instances
18    where rights of the people have been taken away when someone becomes a member of the

19    State Bar.

20           4. Miscellaneous Other Items

21           The State Bar also contends that the plaintiffs had to prove compliance with the State

22    Tort Claims Act in order to proceed. The State Tort Claims Act is not a prerequisite to

23    obtaining injunctive relief (it is only applied to determine if the plaintiff is entitled money

24    damages). Long v. City of Los Angeles (1998) 68 Cal.App.4th 782, 787 This rule still applies

25    even if money damages are also sought because that is considered incidental. See, e.g., Eureka

26
      Teacher's Assn. v. Board of Education (1988) 202 Cal.App.3d 469, 475

27
             Defendant asserts the breach only contained case docket information. (Doc. 86 p. 20) But
      the Defendant’s own notice it drafted included social security numbers as the type of
28
      information that was found breached.

                                                       7
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 1          Defendant also asserts that “The Motion also fails to clearly show the other two elements
 2    of this claim: that Plaintiffs had a “legally protected privacy interest” and a “reasonable
 3    expectation of privacy” in the Docket Data. Hill, 7 Cal.4th at 39–40.” (Opp Doc 86 p. 21). The
 4    records were deemed confidential pursuant to statute, leading to a reasonable expectation of
 5    privacy. The minimal merit required or at least serious questions going to the merits of this
 6    cause of action exist warranting preliminary injunctive relief.’
 7          5. An Attorney Only Has Her Reputation
 8          Professional reputation of a lawyer is unique to each person. Every public disciplinary
 9    charge, whether pursued or not – leaves a little mud on the knees of the person’s reputation. No
10    amount of money can compensate for that and the reputation can never be fully restored.
11          The reputation of an attorney is one of his or her most valued possessions. In re
            Williams, 156 F.3d 86, 90 (1st Cir. 1998)… Any complaint lodged against an
12          attorney whether founded or unfounded is a stain on that badge.
13          In re Moncier (E.D. Tenn. 2008) 550 F. Supp. 2d 768, 774
14          The reputation you develop for intellectual and ethical integrity will be your
15          greatest asset or your worst enemy…There is no victory, no advantage, no fee, no
            favor, which is worth even a blemish on your reputation for intellect and integrity
16          . . . Dents to [your] reputation are irreparable.
17          In re Moncier (E.D. Tenn. 2008) 550 F. Supp. 2d 768, 774-75
18          “While the reputation of an attorney cannot determine whether a sanction should be
19    imposed, the potential damage to an attorney's reputation and career is a factor that should be
20    considered in determining the nature of the sanction. Thomas v. Capital Sec. Services, Inc. (5th
21    Cir. 1988) 836 F.2d 866, 878 superseded by statute.
22          The above case quotes show just how much an attorney depends on a good reputation
23    and how damaging a confidential investigation that never rose to the level of a public

24    disciplinary matter now arising from the dead can cause irreparable harm.

25          The injunction should issue. There is no legitimate reason for the State Bar to assert there

26    is an issue of protection of the public on confidential investigations that have languished for

27    years or even decades by now.

28          6. The Delay of 25 Days Was Justified


                                                      8
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 1            Next, the State Bar contends that this Court should deny injunctive relief because the
 2    plaintiffs were not diligent in seeking redress.
 3            It took the State Bar 135 days (from February 26, 2022 to July 11, 2022) to notify
 4    attorneys, former judges, law students and complainants of the data breach. Plaintiffs, on the
 5    other hand, filed their motion requesting injunctive relief twenty-five (25) days later. “That it
 6    took them months to do their diligence does not suggest that Edmo will not be harmed absent an
 7    injunction.” Edmo v. Corizon, Inc. (9th Cir. 2019) 935 F.3d 757, 798
 8            Finally, the State Bar argues that “The public interest would not be served by
 9    establishing a precedent that courts may order parties not to communicate freely with their
10    counsel about matters crucial to their defense.” (Opp. Doc. 86 p. 27).
11            The confidential matters that were contained in the breach are not relevant. The point is
12    that no one else was supposed to know the investigation exists. There is no known affirmative
13    defense or legal theory where there is an exception to a data breach based on the allegations
14    made in the confidential investigation file or the reasons or facts contained in a confidential
15    investigation file. The State Bar fails to explain how the content contained in confidential
16    investigations made by the State Bar that was never meant to be disclosed beyond the
17    department of the OCTC would be “crucial to their defense.”
18            The State Bar characterizes the plaintiffs’ concern that the State Bar will mitigate their

19    damages by filing more than intended public disciplinary charges from the putative class

20    members as “nonsense.” But the State Bar already implied the harm was less on the grounds

21    that some of these confidential records became public between February 26, 2022 and May 23,

22    2022.

23            On May 23, 2022 the State Bar sent out a notice which stated “For some of these cases,

24    the same information ultimately became public through the course of the State Bar’s

25    disciplinary process, including where discipline ultimately was imposed.” (Doc. 74 pg. 31). In

26
      order to make this representation, the State Bar both compiled a list of all members who had

27
      confidential records in the breach and charges that were filed after February 26, 2022.
              The notice also provided “Full confidential case documents were not scraped by and
28
      were not indexed on judyrecords. That means no complaints, transcripts of hearings, mental

                                                         9
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 1    health reports, or other documents related to nonpublic attorney discipline proceedings were
 2    available or viewed by unauthorized individuals as a result of the Odyssey vulnerability.” (Doc.
 3    74 pg. 31).
 4            However, the State Bar’s own Update on the State Bar website alerted the public that at
 5    least one social security number, mental and substance abuse files were also found in the
 6    breach.
 7            “Group 1: Confidential records with page views The State Bar will notify approximately
 8    1,300 complainants, witnesses, or respondents whose names appeared in the 1,034 confidential
 9    records that showed evidence of a page view. Sample witness notice | Sample respondent notice
10    Of these records, 6 contained the case type “Inactive 6007(b)(3) Mental Illness or Substance
11    Abuse.” Sample notice Notices to Group 1 will be sent by email, or by postal mail if we do not
12    have email addresses on file.” (Doc. 74 pg. 34).
13            Although, the State Bar was able to identify that at least one social security number and
14    six cases classified as inactive due to mental illness or substance abuse tends to show that the
15    information in the public domain was of such a personal nature an injunction should issue.
16    “That it took them months to do their diligence does not suggest that Edmo will not be harmed
17    absent an injunction.” Edmo v. Corizon, Inc. (9th Cir. 2019) 935 F.3d 757, 798.
18                                             II.    CONCLUSION

19            Wherefore, plaintiffs respectfully request that this Court grant the motion in whole or in

20    part.

21    Dated: September 1, 2022            Respectfully Submitted,
                                          LAW OFFICES OF LENORE ALBERT
22                                        /s/ Lenore Albert______________________
23                                        LENORE L. ALBERT, ESQ.
                                          Attorney for Plaintiffs, John Roe 1, Jane Roe 1, Jane Roe 2,
24                                        Jane Roe 3, and John Roe 2, on behalf of themselves and
25                                        all others similarly situated

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                                                      10
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 1                              PROOF OF SERVICE OF DOCUMENT
 2
 3    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
 4    business address is: 1968 S Coast Hwy #3960, Laguna Beach, CA 92651
      A true and correct copy of the foregoing document entitled:
 5
      PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF MOTION FOR A PRELIMINARY
 6    INJUNCTION
 7    will be served or was served (a) on the judge in chambers in the form and manner required by
      LBR; and (b) in the manner stated below:
 8
 9    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
      TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
10    F.R.Civ.P. on 08-05-2022, I served the following persons and/or entities ECF or email as
11    follows:

12    X Service information continued on attached page
13    I declare under penalty of perjury under the laws of the United States that the foregoing is true
      and correct.
14
15     09-01-2022            Lenore Albert                           /s/Lenore Albert

16     Date                 Printed Name                             Signature

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 1                                   SERVICE BY ECF
 2    Defendant
 3    The State Bar of California         represented by Michael G Rhodes
                                                         Cooley LLP
 4
                                                         3 Embarcadero Center 20th Floor
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